  Case 2:09-cr-00863-SRC   Document 37   Filed 02/02/10   Page 1 of 7 PageID: 152



                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA        :      Hon. Stanley R. Chesler
             it.                         Crim. No. 09-863 (SRC)
 MICHAEL C. SCIAP.P.A, et al.     :      ORDER


               This matter having come before the Cou
                                                        rt on the joint
   application of Paul J. Fishman, United
                                              States Attorney for the
   District of New Jersey (by Leslie Faye
                                             Schwartz, Assistant U.S.
   Attorney), and defendants Michael C.
                                           Sciarra (by Edmund DeNoia,
   Esq.), Peter Ventricelli (by Michael N.
                                               Pedicini, Esq.), Michael
  A. Sciarra (by Anthony J. Pope, Esq.),
                                             and Mark Ventricelli (by
  Gerald D. Miller, Esq.) for an order
                                           declaring this matter to be
  a complex case pursuant to Title 18,
                                           United States Code, Section
  3161(h) (7) (B) (ii); and the defendants bein
                                                g aware that absent
  such a finding that they would have
                                         a right to be right to be
  tried within 70 days of the date of thei
                                              r first appearance before
 a judicial officer in this district
                                         in connection with this
 matter pursuant to Title 18 of the Unit
                                            ed States Code, Section
 3161(c) (1), and the charges being the resu
                                                lt of a lengthy
 investigation and the defendants needing
                                               sufficient time to
review extensive discovery and to inv
                                          estigate the charges and
file motions in this case; and Paul J.
                                            Fishman, United States
Attorney for the District of New Jers
                                         ey (Leslie Faye Schwartz,
Assistant U.S. Attorney, appearing) havi
                                            ng concurred in the
assertion that this matter is complex
                                          as defined in the statute;
 Case 2:09-cr-00863-SRC     Document 37    Filed 02/02/10   Page 2 of 7 PageID: 153



 and the Court having found that an order granting a contin
                                                            uance
 of the proceedings in the above-captioned matter should
                                                         be
 entered,    and for good and sufficient cause shown,

                 IT IS THE FINDING OF THIS COURT that this action should

 be continued for the following reasons:

              1.    This case involves allegations of extortion that

 occurred over several years.

              2.    The discovery in this case      is significant,     in that
 it includes,      among other things,    approximately seventy-five

 compact discs and cassette tapes,        containing hundreds of hours of

 consensually recorded conversations.

             3.     The defendants and their counsel need time to

review the extensive discovery in this matter.

             4.     In light of the serious allegations,        the defendants

need sufficient time to investigate the charges.

             5.     In light of the discovery and depending upon the

results of       their respective investigations,      each defendant will

need time to determine whether or not to file motion
                                                     s              in this
matter and what motions should be filed.

             6.    In light of these findings,      and given the nature of

the case and its complexity,       it is unreasonable to expect

adequate preparation for pretrial proceedings or
                                                 the trial itself

within the time limits established under the
                                             Speedy Trial Act.

            7.     The defendants consent to the aforementioned

continuance.
 Case 2:09-cr-00863-SRC       Document 37     Filed 02/02/10     Page 3 of 7 PageID: 154



                8.     The grant of a continuance will enable            counsel for
 the defendants to adequately review
                                     the discovery,                   prepare
 motions,   and procee-d with trial

             9.        Pursuant to Title 18,     United States Code,         Section
 3161(h) (8),        the ends of   justice served by granting the

 continuance outweigh the best interests
                                         of the public and the

 defendants in a speedy trial.

            WHEREFORE,        it is on this      /        day of ary 2010,

            ORDERED that this matter is hereby desig
                                                    nated a complex
case;

            IT IS FURTHER ORDERED that the proc
                                                eedings in the
above-captioned matter are continued
                                     from January 29,                    2010;
            IT IS FURTHER ORDERED that the period
                                                  between January
29,   2010 and March 15,       2010 shall be excludable in computing time

under the Speedy Trial Act of           1974;

            IT IS FURTHER ORDERED that the defe
                                                ndants shall file
their motions no later than March 15,
                                                  2010;    and

            IT IS FURTHER ORDERED that a schedule
                                                  of proceedings in
this matter shall be set once the defe
                                       ndant’s motions have been

filed.




                                                 STANLEY R. CHESLER
                                            United States District Judge
Case 2:09-cr-00863-SRC                                    Document 37               Filed 02/02/10   Page 4 of 7 PageID: 155




                                   o.
                              0)




                                              it’




                                                                      0
                                                                           1




                                                                                       rt
                                                                               0)
          H

              rt


                         rt
flCzi




                                                      1)
                                        )




                                                                  0
                                            (tq
                                   H- Ø
                                   0(D
                         0’




                                              H’



                                                            Cl)
                                                                  0
        ZOi




                                     1(D




                                                    ctQ
                   frt
                         0




                                                                      H’
                                                            (I
                                                            0
aan   Latin   .   USa.J.Jo,si,

          Case 2:09-cr-00863-SRC        Document 37   Filed 02/02/10   Page 5 of 7 PageID: 156

       Consented and Agreed to form and entry by:



       Leslie Faye Schwartz,
       Assistant U.S. Attorney



       Edmund DeNoia, Esq.
       Counsel for Michael C,           Sciarra



      Michael N. Pedicini, Esq.
      Counsel for Peter Ventricelli



      Anthony J.          Pope, Esq.
      Counsel               ichael A.   Sciarra



      Gerald D. Miller, Esq.
      Counsel for Mark Ventricelli
Case 2:09-cr-00863-SRC       Document 37        Filed 02/02/10   Page 6 of 7 PageID: 157




               WHEREFORE, it is on this         day of January 2010,

               ORDERED that this matter is hereby designated a complex case;

               IT IS FURTHER ORDERED that the proceedings in the above-captioned

  matter are continued from January 29, 2010;

               IT IS FURTHER ORDERED that the period between January 29, 2010

 and March 15, 2010 shall be excludable in computing time under the Speedy Trial
                                                                                   Act
 of 1974;

               IT IS FURTHER ORDERED that the defendants shall file their motions no

 later than March 15, 2010; and

              IT IS FURTHER ORDERED that a schedule of proceedings in this matter

 shall be set once the defendant’s motions have been filed.




                                             HON. STANLEY R. CHESLER
                                             United States District Judge




Consented and Agreed to form and entry by:



Leslie Faye Schwartz,
Assistant 3.S. Attorney



Edrmind DeNcia, Esq.
Counsel for ichael C.         Sciarra



Michael N. Pedinini, Esq.
Counsel fo: Peter Ventricelil
                                                             QT_C9Tn   dc7’co   ‘6.1
    Case 2:09-cr-00863-SRC   Document 37   Filed 02/02/10   Page 7 of 7 PageID: 158




I
           DS ‘39t1tw •fl flT
      TtIQTJwsA 3(lPfl 30; IQ9unoD
